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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

       Plaintiffs,

v.
                                                  Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

       Defendants.




          Pursuant to Court Order (ECF No. 696), Exhibit B to the foregoing,
     consisting of a compilation of trial exhibits, will be filed on a hard drive.
